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13                            UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                         Case No. 4:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of         DECLARATION OF J
   themselves and all others similarly situated,          M      IN SUPPORT OF
17               Plaintiffs,
                                                          PLAINTIFFS’ MOTIONS FOR
                                                          PRELIMINARY INJUNCTION
18        v.                                              AND PROVISIONAL CLASS
                                                          CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4248325.1]
      DECLARATION OF J            M      IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                         INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, J         M      , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I am incarcerated in federal prison and have been incarcerated at FCI Dublin
 6 from 2018 to the present. In the future BOP may transfer me to other BOP facilities but at
 7 any point I could be transferred back to FCI Dublin; although I would never want to come
 8 back to this place.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial risk of serious harm from
12 imminent sexual assault, harassment, and retaliation from staff. I feel like I am breaking
13 down from being in this place.
14                 4.     I have experienced multiple incidents of sexual abuse and harassment since
15 being at FCI Dublin. On approximately November 5, 2021, Nurse Frasier Cohen had me
16 remove my shirt and bra for an EKG and he placed wires on my chest near my breast area
17 putting his hand on my bare breast. There was no reason for me to get the EKG and
18 having to take my shirt and bra off and expose my breasts to a male nurse, without any
19 women present, and have him touch me was incredibly traumatic and led me to avoid
20 going to medical whenever I could, and I refused to see Nurse Cohen again. Later, on
21 approximately July 29, 2022, Officer Wilson, acting as a Nurse came into my cell and gave
22 me a shot that knocked me out for several hours. I do not know why he gave me the shot,
23 and no one explained why I was given the shot in my cell instead of in the medical offices.
24 I do not know what happened when I was unconscious, and the experience made me even
25 more afraid to engage with seek medical care at the facility due to fears I would be groped
26 or otherwise drugged and assaulted.
27                 5.     I have also witnessed staff sexually abuse and harass other incarcerated
28 persons at FCI Dublin. I began volunteering in the kitchen during COVID because they
     [4248325.1]                                          1
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 1 didn’t have enough workers. At the time, the officers in charge of supervising workers in
 2 the kitchen were Officer Jones and Officer Poole. Both officers blatantly engaged in
 3 sexual relationships with incarcerated people in the facility.
 4                 6.     On approximately February 5, 2022, Officer Poole asked two other
 5 incarcerated women to stay behind and help him even though the kitchen was closed, and I
 6 and all the other workers were leaving. Officer Poole was alone with the two incarcerated
 7 women for close to an hour. I know this because I walked by the building after 6 and saw
 8 one of the women, W                    , duck down to hide below the window when she saw me.
 9 W                    later told me she was having a sexual relationship with Officer Poole and the
10 second woman, R                , also later told me she was also having a sexual relationship with
11 Officer Poole. R               was also having a sexual relationship with Officer Jones. The
12 following day, on approximately February 6, 2022, I saw Officer Jones with R                  in the
13 office in the kitchen. I could see them through the window and witnessed Officer Jones
14 with his hands around R               ’s neck, appearing to choke her. I knew they were in a sexual
15 relationship because I saw Officer Jones give her special privileges, saw them go into the
16 office alone, and Officer Jones would get in R              ’s face in front of everyone and told her
17 to stop telling people about their relationship.
18                 7.     Eventually someone must have reported the incidents involving Officers
19 Jones and Poole because around July of 2022, SIS Lt. Putnum called me in to ask me about
20 it, but I was too afraid of retaliation to report what I knew. I had previously seen the
21 Warden, Ray Garcia, go into a recreation room alone with another incarcerated person,
22 M               , and it was well known he was having a relationship with her. Knowing that
23 leadership at FCI Dublin was engaged in these same acts made me feel even more afraid to
24 come forward because BOP officer cover for each other and I was terrified of being
25 thrown into the solitary confinement in the SHU.
26                 8.     When I arrived at FCI Dublin in 2018 no one provided me with information
27 about my rights under the Prison Rape Elimination Act (PREA). I still have not been
28 provided with information about PREA. I have seen posters occasionally that have some
     [4248325.1]                                          2
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 1 PREA related information on them but usually only when people are coming to tour the
 2 facility. We have been provided with an 800 number we are supposed to be able to call to
 3 report issues, but the prison phones won’t dial 800 numbers.
 4                 9.    There is no effective way to confidentially report sexual assault and abuse by
 5 staff at FCI Dublin. The only methods I am aware of to report sexual assault and abuse by
 6 staff are to tell staff, report to SIS, or to send an email to DOJ using the facilities
 7 computers. While these messages are not supposed to be read by BOP staff the computers
 8 in the facility do not have functioning privacy screens and are positioned so that staff and
 9 other incarcerated persons can see what I am typing and who I am sending it to. In the last
10 few months BOP installed what they called “privacy” screens on the computers, but they
11 do not work. They only block people from seeing the screen if they are sitting directly to
12 the side of it, otherwise anyone looking generally at the computers can still see what is
13 being typed.
14                 10.   All other forms of communication, including mail, video calls, phone calls,
15 and email are heavily monitored by BOP staff. It is also difficult to report to counsel
16 because staff at FCI Dublin limit access to legal calls and if you are placed in the SHU do
17 not allow access to phone calls or emails to be able to tell people what is happening. For a
18 period of time, we could also report to a BOP taskforce but that ended a while ago.
19                 11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
20 by staff and retaliate against people who do report. When Warden Garcia and his
21 colleagues were terminated for having sexual relations with inmates, the staff continued to
22 retaliate against us by taking away recreation times, conducting unnecessary and harassing
23 room searches and limiting our access to calls, including to counsel. My case manager has
24 prevented me from making legal calls and video calls and also denied my request for a
25 transfer. Beginning in the Summer of 2021, staff also started forcing us to stay in our
26 uniforms until the evening hours, while other prisons allow people to change into shorts
27 earlier in the day and stopped allowing people to wear BOP issued shorts to mainline.
28 The focus on our clothing makes me feel staff blame us and our clothes for the sexual
     [4248325.1]                                        3
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 1 misconduct by staff.
 2                 12.   My worst fears came true and after I had a legal call with my counsel on
 3 October 24, 2022, about what is happening at Dublin, I was retaliated against and placed in
 4 the SHU. Shortly after this meeting on October 30, SIS called me to their office and
 5 claimed a stereo that I had been openly using for several months which I found on-site
 6 must have been given to me by an officer. Officer Ferguson kept asking me who I was
 7 sleeping with and treated me like I did something wrong. I believe I was targeted due to
 8 what I discussed on my legal call only a few days prior. I was placed in solitary
 9 confinement in the SHU from October 30 until November 15, 2022. During this time, I
10 asked to call my lawyer but was not allowed to do so to tell them what was happening.
11                 13.   While I was in the SHU, I became distraught and was placed on suicide
12 watch. When I was placed on suicide watch staff made me put on a safety smock which
13 barely covered my naked body and made me walk across the facility with only the safety
14 smock on.
15                 14.   When incarcerated persons report sexual assault and abuse by staff, FCI
16 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
17 delayed and overseen by staff who know and work with the offending staff member.
18 Generally nothing happens as a result. As my experience indicates, the “investigation” can
19 include nothing more than yelling at and harassing incarcerated persons instead of actually
20 investigating staff.
21                 15.   There is no confidential mental health care available to survivors of sexual
22 abuse and assault at FCI Dublin. On January 20, 2023, I asked to speak to mental health
23 and was told “no” by Officer Hendricks. Approximately 45 minutes later, I was able to
24 walk over to the mental health office. Once there, I saw a woman whose name starts with
25 an “M.” Ms. M said she could not help me and was new to the facility. I was told to send
26 a message to “reentry”, and someone would respond. I did so but did not receive a
27 response to the email. Ms. Groover, the Unit Manager for Units A/B also often comes
28 over to my unit E/F and is very disrespectful to us and offers no help.
     [4248325.1]                                        4
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 1                 16.   There are very few mental health workers at FCI Dublin. Dr. Hong left in
 2 early January 2023 and Mr. Northerly told me that he was leaving in late January 2023 for
 3 Arizona. The psychiatrist, Dr. Mulcahey, is married to my Unit Manager Craig and I am
 4 deeply concerned that anything I say to her will be conveyed to her husband who runs my
 5 unit and cause further retaliation. I know they talk about us because Dr. Mulcahey told me
 6 that Officer Craig locks himself in his office and avoids us for his safety and our safety.
 7                 17.   There is little to no medical care available to survivors of sexual abuse and
 8 assault at FCI Dublin. For a period of time there was no medical doctor at the facility and
 9 only recently has there been a part-time doctor on-site. The prior doctors, physician
10 assistants, nurses and nurse practitioners have either been walked off, fired, forced to
11 resign, or simply placed in other BOP institutions. Patients are not being seen, given
12 improper or inadequate care, touched inappropriately, and staff violate our HIPAA rights
13 by discussing our medical issues in the presence of other inmates while inside the waiting
14 rooms. Patients are being sent back from sick call and told that they would be rescheduled
15 for appointments which never occurs. Patients are being told that the institution is either
16 short-staffed or there is no staff at all. The lack of medical care has caused my
17 fibromyalgia to flare up and my left side to be paralyzed at times and I was in excruciating
18 pain. As a result, I was given cortisone shots, but they stopped providing them and I still
19 suffer from pain. Mr. Wilson in Medical is also very disrespectful, and I feel
20 uncomfortable communicating with staff which makes it hard for me to get the care I need.
21                 18.   Staff at FCI Dublin do not wear body-worn cameras in the facility and while
22 there are some cameras installed in fixed locations in the facility, but it is well known that
23 there are no cameras in the kitchen, Unicor, commissary, laundry and in offices.
24 Essentially cameras are generally in the units and hallways. The cameras that are installed
25 are enclosed in dark colored glass and it is impossible to tell where they are pointing or
26 whether they are working.
27 / / /
28 / / /
     [4248325.1]                                         5
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